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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

KTM AG,                                )
                                       )                      Case No. 21-cv-1280
            Plaintiff,                 )
                                       )                       Judge Gary Feinerman
v.                                     )
                                       )
THE INDIVIDUALS, CORPORATIONS, LIMITED )
LIABILITY COMPANIES, PARTNERSHIPS AND  )
UNINCORPORATED ASSOCIATIONS IDENTIFIED )
ON SCHEDULE A HERETO,                  )
                                       )
            Defendants.                )

    PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL WITH LEAVE TO REINSTATE

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff KTM AG hereby
dismisses without prejudice, with leave to reinstate on or before September 21, 2021, Defendants No. 31
“lsailon”, No. 75 “QINCHYE”, No. 77 “QUALINSIST”, No. 89 “SCITOO Auto” and No. 134
“TUPARTS”. In the event a motion to reinstate is not filed on or before September 21, 2021, Defendants
No. 31 “lsailon”, No. 75 “QINCHYE”, No. 77 “QUALINSIST”, No. 89 “SCITOO Auto” and No. 134
“TUPARTS” shall be deemed, without further order of the Court, to be dismissed with prejudice.
        In view of this dismissal, the Motion to Dismiss and Dissolve the Preliminary Injunction Order
filed by Defendants No. 31 “lsailon”, No. 75 “QINCHYE”, No. 77 “QUALINSIST”, No. 89 “SCITOO
Auto” and No. 134 “TUPARTS” is rendered moot. [Dkt. No. 75]. Each party shall bear its own
attorney’s fees and costs.
        The respective Defendants have not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.
                                         Respectfully submitted,
Dated: July 23, 2021                     By:      s/Michael A. Hierl             _
                                                  Michael A. Hierl (Bar No. 3128021)
                                                  William B. Kalbac (Bar No. 6301771)
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                                                  Attorneys for Plaintiff
                                                  KTM AG
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                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal with Leave to Reinstate was filed electronically with the Clerk of the Court and
served on all counsel of record and interested parties via the CM/ECF system on July 23, 2021.



                                                           s/Michael A. Hierl
